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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


Jarrell Wilson

     v.                                          Case No. 19-cv-786-JL

NH State Prison, Warden


                                     ORDER


     No objection having been filed, I herewith approve the

Report and Recommendation of Magistrate Judge Andrea K.

Johnstone dated July 17, 2020 .         “‘[O]nly those issues fairly

raised by the objections to the magistrate's report are subject

to review in the district court and those not preserved by such

objection are precluded on appeal.’”          School Union No. 37 v.

United Nat'l Ins. Co., 617 F.3d 554, 564 (1st Cir. 2010)

(quoting Keating v. Secretary of Health & Human Servs., 848 F.2d

271, 275 (1st Cir.1988)); see also United States v. Valencia-

Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after proper notice,

failure to file a specific objection to magistrate's report will

waive the right to appeal).


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                                          Joseph N. Laplante
                                          United States District Judge

Date: November    3, 2020


cc: Jarrell Wilson, pro se
     Jonathan Lax, Esq.
     Samuel Garland, Esq.
